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                   12 Counsel for Plaintiffs
S C H I L L E R




                   13                 UNITED STATES DISTRICT COURT
                   14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

                   15 BROIDY CAPITAL MANAGEMENT                    Case No. 2:18-CV-02421-JFW-E
B O I E S




                      LLC and ELLIOTT BROIDY,
                   16                                              The Honorable John F. Walter
                      Plaintiffs,
                   17                                              STIPULATION TO SCHEDULE
                      v.                                           FOR FILING ANSWER OR
                   18                                              OTHER RESPONSIVE PLEADING
                      STATE OF QATAR, STONINGTON                   BY DEFENDANTS GLOBAL RISK
                   19 STRATEGIES LLC, NICOLAS D.                   ADVISORS LLC AND KEVIN
                      MUZIN, GLOBAL RISK ADVISORS                  CHALKER
                   20 LLC, KEVIN CHALKER, DAVID                    ________
                      MARK POWELL, MOHAMMED BIN
                   21 HAMAD BIN KHALIFA AL THANI,
                      AHMED AL-RUMAIHI, and DOES 1-
                   22 10,
                   23 Defendants.
                   24
                   25
                   26        This stipulation is entered into by and between Plaintiffs Broidy Capital
                   27 Management LLC and Elliott Broidy and Defendants Global Risk Advisors LLC
                   28 (“GRA”) and Kevin Chalker by and through their respective counsel, as follows:
                                STIPULATION TO SCHEDULE FOR FILING ANSWER OR OTHER RESPONSIVE PLEADING BY
                                                   DEFENDANTS GLOBAL RISK ADVISORS LLC AND KEVIN CHALKER
                  Case 2:18-cv-02421-JFW-E Document 63 Filed 06/05/18 Page 2 of 4 Page ID #:897




                    1        WHEREAS, on May 7, 2018 this Court entered an order on a Stipulation to
                    2 Schedule for Filing Amended Complaint And Motion To Dismiss providing that
                    3 Plaintiffs would have until May 24, 2018 to amend their complaint and that
                    4 Defendants State of Qatar, Stonington Strategies LLC, and Nicolas D. Muzin would
                    5 have sixty days thereafter to respond to the amended complaint (Dkt. 46); and
                    6        WHEREAS, Plaintiffs filed a First Amended Complaint on May 24, 2018
                    7 naming as additional defendants, among others, GRA and Mr. Chalker (Dkt. 47);
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                    8 and
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                    9        WHEREAS, Plaintiffs’ counsel and counsel for GRA and Mr. Chalker have
                   10 agreed that GRA and Mr. Chalker should also be permitted sixty days from May 24,
                   11 2018 to respond to the First Amended Complaint; and
S C H I L L E R




                   12        WHEREAS, this Court allows motions to be noticed for hearings up to and
                   13 including 35 calendar days after service of the motion, Standing Order ¶ 5(a); and
                   14        WHEREAS, Central District of California Local Rule 7-9 allows opposing
                   15 papers to be filed up to 21 calendar days before the date noticed for the hearing and
B O I E S




                   16 Rule 7-10 allows reply papers to be filed up to 14 calendar days before the date
                   17 noticed for the hearing;
                   18        IT IS HEREBY STIPULATED AND AGREED THAT:
                   19        GRA and Mr. Chalker will respond to the First Amended Complaint on July
                   20 23, 2018. If either GRA or Mr. Chalker files a motion to dismiss on that date, it will
                   21 be noticed for a hearing date 35 days thereafter, on August 27, 2018. Any
                   22 opposition by Plaintiffs to such a motion will be filed no later than 21 days before
                   23 the hearing date, on August 6, 2018. Any reply briefs shall be filed no later than 14
                   24 days before the hearing date, on August 13, 2018.
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                                 STIPULATION TO SCHEDULE FOR FILING ANSWER OR OTHER RESPONSIVE PLEADING BY
                                                    DEFENDANTS GLOBAL RISK ADVISORS LLC AND KEVIN CHALKER
                  Case 2:18-cv-02421-JFW-E Document 63 Filed 06/05/18 Page 3 of 4 Page ID #:898




                    1                                            Respectfully submitted,

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                    3
                        DATED: June 5, 2018                      BOIES SCHILLER FLEXNER LLP
                    4
                                                                 By: /s/ Lee S. Wolosky
                    5                                            Lee S. Wolosky
                    6                                            Attorneys for Plaintiffs Broidy Capital
                                                                 Management LLC and Elliott Broidy
                    7
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                    8
                                                                 WILMERHALE
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                    9 DATED: June 5, 2018                        By: /s/ Brendan R. McGuire
                   10                                            Brendan R. McGuire
                                                                 Attorneys for Defendants Global Risk
                   11                                            Advisors LLC and Kevin Chalker
S C H I L L E R




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                                STIPULATION TO SCHEDULE FOR FILING ANSWER OR OTHER RESPONSIVE PLEADING BY
                                                   DEFENDANTS GLOBAL RISK ADVISORS LLC AND KEVIN CHALKER
                  Case 2:18-cv-02421-JFW-E Document 63 Filed 06/05/18 Page 4 of 4 Page ID #:899




                    1                           SIGNATURE CERTIFICATION
                    2        Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
                    3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
                    4 have authorized this filing.
                    5
                    6
                    7 DATED: June 5, 2018                      BOIES SCHILLER FLEXNER LLP
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                    8
F L E X N E R




                    9                                            /s/ Lee S. Wolosky
                   10                                          Lee S. Wolosky
                   11
S C H I L L E R




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                                STIPULATION TO SCHEDULE FOR FILING ANSWER OR OTHER RESPONSIVE PLEADING BY
                                                   DEFENDANTS GLOBAL RISK ADVISORS LLC AND KEVIN CHALKER
